       Case 3:20-cv-01035-SI    Document 191   Filed 10/13/20   Page 1 of 76



                                                                            FILED
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                   UNITED STATES COURT OF APPEALS                        MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS


                           FOR THE NINTH CIRCUIT

INDEX NEWSPAPERS LLC, DBA                      No.   20-35739
Portland Mercury; DOUG BROWN;
BRIAN CONLEY; SAM GEHRKE;                      D.C. No. 3:20-cv-01035-SI
MATHIEU LEWIS-ROLLAND; KAT                     District of Oregon,
MAHONEY; SERGIO OLMOS; JOHN                    Portland
RUDOFF; ALEX MILAN TRACY;
TUCK WOODSTOCK; JUSTIN YAU,
and those similarly situated,                  ORDER

             Plaintiffs-Appellees,

 v.

UNITED STATES MARSHALS
SERVICE; U.S. DEPARTMENT OF
HOMELAND SECURITY,

             Defendants-Appellants,

 and

CITY OF PORTLAND, a municipal
corporation; JOHN DOES, 1-60;
individual and supervisory officers of
Portland Police Bureau and other agencies
working in concert,

             Defendants.


Before: O’SCANNLAIN, RAWLINSON, and CHRISTEN, Circuit Judges.

Order by Judges RAWLINSON and CHRISTEN, Dissent by Judge O’SCANNLAIN
       Case 3:20-cv-01035-SI     Document 191     Filed 10/13/20   Page 2 of 76




      On May 25, 2020, George Floyd was killed by a Minneapolis police officer

while being arrested. Bystanders on the sidewalk recorded videos of a police

officer kneeling on Floyd’s neck for several minutes while Floyd begged for his

life. A video showing the last minutes of Floyd’s life was circulated nationwide,

and it ignited protests across the country in support of the Black Lives Matter

movement.

      This case arises out of the protests in Portland, Oregon. Most of the protests

have been peaceful, but some have become violent. There have been incidents of

vandalism, destruction of property, looting, arson, and assault, particularly late at

night. Since the protests began, state and local authorities in Oregon have actively

monitored the protests and engaged in crowd control measures. Plaintiffs—a

newspaper organization and individual journalists, photojournalists, and legal

observers who have attended the protests to serve as reporters and recorders—filed

a class-action complaint against the City of Portland on June 28, 2020.

      The complaint alleged that the City’s response to the protests violated their

rights under the First and Fourth Amendments to the United States Constitution,

and Article I, Sections 8 and 26 of the Oregon Constitution. Specifically, plaintiffs

asserted that although they had not participated in the protests, the local authorities

shot them with less-lethal munitions (pepper balls, impact munitions, paint


                                           2
       Case 3:20-cv-01035-SI     Document 191       Filed 10/13/20   Page 3 of 76




markers, and tear gas canisters), and pepper sprayed, shoved, and otherwise

prevented them from recording and reporting on the protests and on law

enforcement’s response to the same. Four days after the complaint was filed, on

July 2, the district court entered a temporary restraining order (TRO) against the

City regulating the local authorities’ use of crowd-control tactics against journalists

and legal observers. On July 16, the City and plaintiffs stipulated to a preliminary

injunction that was largely identical to the TRO.

      Many of the protests in Portland have centered around the Mark O. Hatfield

Federal Courthouse. In response to the threat to federal property, the Department

of Homeland Security (DHS) and the United States Marshals Service (USMS)

(collectively, the Federal Defendants) deployed federal law enforcement agents to

Portland. It appears undisputed that the intensity of the protests escalated after the

Federal Defendants arrived.

      Plaintiffs filed a second amended complaint on July 17 joining as defendants

DHS and USMS. This complaint alleged that the Federal Defendants

“intentionally targeted and used physical force and other forms of intimidation

against journalists and authorized legal observers for the purpose of preventing or

deterring them from observing and reporting on unreasonably aggressive treatment




                                           3
       Case 3:20-cv-01035-SI     Document 191      Filed 10/13/20   Page 4 of 76




of lawful protestors.” The district court entered a TRO against the Federal

Defendants on July 23.

      On July 29, 2020, DHS and the State of Oregon reached an agreement

regarding their respective crowd control efforts. The agreement is not part of the

record, but the district court described it as generally providing that the City would

take the lead in responding to the protests. The court’s findings also made clear

that the agreement contains numerous caveats and is terminable at any time,

without notice. Though the agreement was to take effect on July 29, the district

court observed that the record includes video clips that purport to show federal

agents firing tear gas and less-lethal munitions at journalists standing on SW Main

Street on July 29 and into the morning of July 30. The district court found that

“there was no one nearby on the street but numerous federal enforcement officers

and six journalists when the munitions were deployed.”

      The Federal Defendants assert that the Oregon State Police are no longer

enforcing crowd control in Portland, and that the Portland Police are currently

filling that role instead. But it is clear that the federal agents have remained in




                                           4
          Case 3:20-cv-01035-SI   Document 191    Filed 10/13/20   Page 5 of 76




Portland, and Acting Secretary of DHS, Chad Wolf, stated that “no determination

of timetables for reduction in protective forces has yet been made.”1

      On August 10, plaintiffs filed a motion for a preliminary injunction against

the Federal Defendants. After briefing was complete, the parties stipulated that the

court could base its decision on the record and the parties’ arguments without

holding an evidentiary hearing. The record comprises dozens of declarations,

many of which include photographs and links to video files. The district court

issued a detailed, sixty-one page order granting plaintiffs’ motion on August 20

and entered a preliminary injunction with terms largely identical to the terms of the

July 23 TRO.

      The district court’s order began by observing that the Constitution reserves

the general police power to the states, and pursuant to the general police power,

local officials have the authority to issue general dispersal orders on the public

streets and sidewalks. The court noted that the City had separately stipulated that it

would not require members of the press or legal observers to disperse, and



      1
             On July 28, plaintiffs filed a motion for a finding of contempt and
imposition of sanctions against the Federal Defendants, alleging several violations
of the July 23 TRO. The district court has not yet ruled on the motion, but noted
“serious concerns” that the Federal Defendants had not complied with the July 23
TRO, and that some of the alleged misconduct occurred after the Federal
Defendants reached the agreement with Governor Brown.

                                           5
       Case 3:20-cv-01035-SI      Document 191     Filed 10/13/20   Page 6 of 76




explained that the Federal Defendants did not assert the authority to issue general

dispersal orders to clear city streets and that the statutory authority the Federal

Defendants relied upon did not so provide. The court’s order recounts the Federal

Defendants’ position, which was that federal officers had been dispatched to

Portland with the stated mission to protect federal property and personnel.

Nevertheless, the district court was confronted with compelling photographic

evidence showing that federal officers “routinely have left federal property and

engaged in crowd control and other enforcement on the streets, sidewalks and

parks of the City of Portland.” The court’s order detailed several of the dozens of

declarations, photos, and video clips introduced into evidence to support plaintiffs’

contention that at least some of the federal officers had intentionally targeted

journalists and legal observers in retaliation for their news-reporting efforts.

      Having explained that local officials had separately stipulated they were not

requiring journalists and legal observers to disperse, the preliminary injunction

entered to address the Federal Defendants’ conduct states that journalists and legal

observers “shall not be subject to arrest for not dispersing following the issuance of

an order to disperse.” The order states that journalists and legal observers may not

impede, block, or otherwise physically interfere with the lawful activities of the

Federal Defendants, and recognizes that the Federal Defendants are free to issue


                                            6
       Case 3:20-cv-01035-SI     Document 191     Filed 10/13/20   Page 7 of 76




“otherwise lawful crowd-dispersal orders for a variety of lawful reasons;” i.e.

crowd-dispersal orders not issued to clear city streets and sidewalks. The

preliminary injunction also requires that journalists and observers “must comply

with all laws other than general dispersal orders.”

      Because the Federal Defendants argued that some protestors had

masqueraded as members of the press by wearing press badges or clothing

identifying them as members of the press corps, the order provides that it does not

protect unlawful conduct and that anyone, even a person who appears to be a

journalist, is subject to arrest for engaging in such conduct. Finally, the injunction

sets out a number of indicia to assist the Federal Defendants in distinguishing

between journalists, legal observers, and protesters. These indicia include visual

identifiers such as press passes, people standing off to the side of protests not

engaging in protest activities, people not intermixed with protest activities, and

people carrying professional-grade photographic equipment. The order requires

that the Federal Defendants’ uniforms bear marks allowing federal officers to be

identified. The injunction also provides that if a journalist or legal observer is

incidentally exposed to crowd-control devices after remaining in the area where

such devices are deployed to enforce a lawful dispersal order, the Federal

Defendants will not be liable for violating the injunction.


                                           7
       Case 3:20-cv-01035-SI     Document 191     Filed 10/13/20   Page 8 of 76




      On August 25, the district court denied the Federal Defendants’ motion for a

stay of the preliminary injunction pending appeal, principally concluding that the

Federal Defendants had not shown a sufficient likelihood that they would suffer

irreparable injury absent a stay. On appeal, a divided three-judge motions panel

issued a brief, two-page order on August 27 granting the Federal Defendants’

motion for an administrative stay of the injunction pending resolution of their

emergency motion for a stay pending appeal.

      Having considered the parties’ complete briefing, and after hearing oral

argument, we conclude that the Federal Defendants have not shown a strong

likelihood of success on the merits. The Federal Defendants also failed to

demonstrate they are likely to suffer irreparable injury if the preliminary injunction

is not stayed pending appeal. Accordingly, we deny the Federal Defendants’

emergency motion.

                                           I

      “A stay is not a matter of right, even if irreparable injury might otherwise

result to the appellant.” Virginian Ry. Co. v. United States, 272 U.S. 658, 672

(1926). “The party requesting a stay bears the burden of showing that the

circumstances justify an exercise of that discretion.” Nken v. Holder, 556 U.S.

418, 433–434 (2009).


                                           8
       Case 3:20-cv-01035-SI     Document 191      Filed 10/13/20   Page 9 of 76




      To decide whether to grant the Federal Defendants’ motion for a stay

pending appeal, our case law requires that we consider: (1) whether the Federal

Defendants have made a strong showing that they are likely to succeed on the

merits; (2) whether the Federal Defendants will be irreparably injured absent a

stay; (3) whether issuance of the stay will substantially injure the other parties

interested in the proceeding; and (4) where the public interest lies. Id. at 426.

      To decide whether the Federal Defendants have demonstrated a likelihood

that they will succeed on the merits of their claims, we review the district court’s

findings of fact for clear error, its legal conclusions de novo, and the injunction’s

scope for abuse of discretion. Armstrong v. Brown, 768 F.3d 975, 979 (9th Cir.

2014); Walters v. Reno, 145 F.3d 1032, 1047 (9th Cir. 1998) (“A district court’s

factual findings are entitled to deference unless they are clearly erroneous.”).

                                           II

      The bar for obtaining a stay of a preliminary injunction is higher than the

Winter standard for obtaining injunctive relief. Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 20 (2008). We have explained that the first two Nken factors are

the most critical, and that the second two factors are only considered if the first two

factors are satisfied. Nken, 556 U.S. at 434–35; Al Otro Lado v. Wolf, 952 F.3d

999, 1007 (9th Cir. 2020). The Federal Defendants must show a strong likelihood


                                           9
       Case 3:20-cv-01035-SI     Document 191      Filed 10/13/20   Page 10 of 76




of success on the merits. Doe #1 v. Trump, 957 F.3d 1050, 1062 (9th Cir. 2020).

And “simply showing some possibility of irreparable injury fails to satisfy the

second factor.” Nken, 556 U.S. at 434–35 (internal citations and quotations

omitted). The demanding standard applicable here requires that the Federal

Defendants show “that irreparable injury is likely to occur during the period before

the appeal is decided.” Doe #1, 957 F.3d at 1059.

                                           A

      The Federal Defendants argue they are likely to succeed on the merits for

three reasons. First, they argue plaintiffs lack standing to pursue injunctive relief

on their First Amendment retaliation claim because plaintiffs have not shown a

sufficient likelihood that they will be deprived of their constitutional rights if the

Federal Defendants’ crowd control measures are not subject to the district court’s

preliminary injunction pending appeal. Second, they argue they will succeed on

the merits of plaintiffs’ retaliation claim because there is no evidence to support the

district court’s conclusion that plaintiffs’ protected activity was a substantial or

motivating factor that prompted the Federal Defendants’ actions to disperse them.

Third, the Federal Defendants argue they are likely to succeed on plaintiffs’ First

Amendment right-of-access claim because the press and legal observers have no

First Amendment right to access the streets and sidewalks where the protests are


                                           10
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 11 of 76




staged if the Federal Defendants order them to disperse. For these three reasons,

the Federal Defendants argue they are entitled to a stay of the preliminary

injunction pending appeal.2

                                           1

      Three elements make up the “irredicuble constitutional minimum of

standing”: (1) injury in fact; (2) a causal connection between the injury and the

conduct complained of; and (3) a likelihood that the injury will be redressed by a

favorable decision. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–561 (1992).

Here, only the “injury in fact” element is disputed.

      “A plaintiff threatened with future injury has standing to sue ‘if the

threatened injury is certainly impending, or there is a substantial risk the harm will

occur.’” In re Zappos.com, Inc., 888 F.3d 1020, 1024 (9th Cir. 2018) (quoting

Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014)). A plaintiff may not

rely “on mere conjecture about possible governmental actions” to demonstrate

injury, and must instead present “concrete evidence to substantiate their fears.”



      2
              Our case law has frequently observed the importance of the press as
surrogates for the public, but we have not considered whether legal observers serve
the same function. Neither the parties nor the district court focused on whether the
legal observers’ right of access differs from the one enjoyed by the press. Because
we do not need to decide this question in order to rule on the emergency motion for
a stay, we leave it for another day.

                                          11
       Case 3:20-cv-01035-SI    Document 191      Filed 10/13/20   Page 12 of 76




Clapper v. Amnesty Int’l USA, 568 U.S. 398, 420 (2013). “Past exposure to illegal

conduct does not in itself show a present case or controversy regarding injunctive

relief . . . if unaccompanied by any continuing, present adverse effects.” City of

Los Angeles v. Lyons, 461 U.S. 95, 102 (1983) (quoting O’Shea v. Littleton, 414

U.S. 488, 495–96 (1974)).

      The Federal Defendants’ standing argument relies primarily on Lyons, a case

involving a claim for injunctive relief asserted by a man who had been subjected to

a chokehold by police officers. Id. at 102. In Lyons, the Court explained that to

establish standing, the plaintiff was required to “credibly allege that he faced a

realistic threat from the future application of the City’s [chokehold] policy.” Id. at

106 n.7. Because Lyons had not been subjected to a second chokehold in the time

before he filed his federal complaint, the Supreme Court concluded that his

assertion that he might face such abuse in the future was premised on a speculative

sequence of events. Id. at 105–06. The Supreme Court explained that Lyons did

not have standing to pursue equitable relief barring the use of chokeholds because

“[p]ast exposure to illegal conduct does not in itself show a present case or

controversy regarding injunctive relief . . . if unaccompanied by any continuing,

present adverse effects.” Id. at 102 (emphasis added) (citation omitted).




                                          12
       Case 3:20-cv-01035-SI     Document 191     Filed 10/13/20    Page 13 of 76




      Here, plaintiffs’ injuries are different for several reasons. First, their risk of

future injury is not speculative. Plaintiffs introduced powerful evidence of the

Federal Defendants’ ongoing, sustained pattern of conduct that resulted in

numerous injuries to members of the press between the date the complaint was

filed and the date the district court entered its preliminary injunction. The district

court’s preliminary injunction included twelve pages solely dedicated to factual

findings that describe in detail dozens of instances in which the Federal Defendants

beat plaintiffs with batons, shot them with impact munitions, and pepper sprayed

them. The court’s findings were supported by nineteen declarations and video and

photographic evidence. The Federal Defendants do not argue that any of the

district court’s findings are clearly erroneous, and we conclude the findings are

amply supported.

      As of the time the preliminary injunction was entered, the district court

found that the Federal Defendants had engaged in a pattern of conduct that had

persisted for weeks and was ongoing. After reviewing plaintiffs’ declarations,

photos, and video clips, the district court found that many victims had been

standing on public streets, sidewalks, and parks, well away from protestors, and

were not engaged in unlawful activity when they were shot, tear gassed, shoved, or

pepper sprayed by the Federal Defendants. Unlike Lyons, the district court found


                                           13
       Case 3:20-cv-01035-SI     Document 191      Filed 10/13/20   Page 14 of 76




that some journalists and legal observers monitoring the protests had been injured

by the Federal Defendants more than once. The district court’s findings are

compelling because “the possibility of recurring injury ceases to be speculative

when actual repeated incidents are documented.” Thomas v. Cnty. of Los Angeles,

978 F.3d 504, 507 (9th Cir. 1992) (internal quotation marks omitted).

      The nature of plaintiffs’ injuries also sharply differs from the substantive

due process injury asserted in Lyons. Plaintiffs allege that the Federal Defendants’

crowd-control measures have “chilled” the exercise of their First Amendment

rights, and that this First Amendment injury is ongoing. A chilling of First

Amendment rights can constitute a cognizable injury, so long as the chilling effect

is not “based on a fear of future injury that itself [is] too speculative to confer

standing.” Munns v. Kerry, 782 F.3d 402, 410 (9th Cir. 2015) (citing Clapper, 568

U.S. at 417–18); Libertarian Party of L.A. Cty. v. Bowen, 709 F.3d 867, 870 (9th

Cir. 2013) (“[A]s the Supreme Court has recognized, a chilling of the exercise of

First Amendment rights is, itself, a constitutionally sufficient injury.”).

      The district court agreed that the Federal Defendants’ targeting of the

plaintiffs chilled their First Amendment rights, and after analyzing the factors

prescribed by Furgatch, the court concluded that the Federal Defendants’ conduct




                                           14
       Case 3:20-cv-01035-SI    Document 191      Filed 10/13/20   Page 15 of 76




was likely to continue.3 Fed. Election Comm’n v. Furgatch, 869 F.2d 1256, 1263

n.5 (9th Cir. 1989). The district court issued a lengthy and detailed order and the

Federal Defendants do not challenge its factual findings. On this record, we

conclude the Federal Defendants have not made a strong showing that their

standing argument is likely to succeed, and have not shown that the district court

abused its discretion by entering a preliminary injunction. This cuts against the

emergency motion for a stay pending appeal.

                                           2

      We also conclude the Federal Defendants have not made the strong showing

required by Nken that they are likely to succeed on the merits of plaintiffs’ First

Amendment retaliation claim. For this claim, plaintiffs were required to show that

they were engaged in a constitutionally protected activity, the Federal Defendants’

actions would chill a person of ordinary firmness from continuing to engage in the

protected activity, and the protected activity was a substantial or motivating factor

      3
              Furgatch instructs courts to consider five factors when determining
whether conduct is likely to occur in the future: (1) the degree of scienter involved;
(2) the isolated or recurrent nature of the infraction; (3) the defendant’s recognition
of the wrongful nature of his conduct; (4) the extent to which the defendant’s
professional and personal characteristics might enable or tempt him to commit
future violations; and (5) the sincerity of any assurances against future violations.
Fed. Election Comm’n v. Furgatch, 869 F.2d 1256, 1263 n.5 (9th Cir. 1989). The
Federal Defendants do not argue that the district court misapplied any of these
factors, and we see no error.

                                          15
       Case 3:20-cv-01035-SI    Document 191      Filed 10/13/20   Page 16 of 76




in the Federal Defendants’ conduct. Pinard v. Clatskanie Sch. Dist. 6J, 467 F.3d

755, 770 (9th Cir. 2006). The Federal Defendants do not contest the first or second

elements of the retaliation claim, nor does there appear to be a good faith basis for

doing so.4

      The Federal Defendants only argue that they are likely to succeed on the

merits of plaintiffs’ retaliation claim because “plaintiffs have not shown their First

Amendment activity was a ‘substantial or motivating factor’ in the government’s

conduct.” This element of a First Amendment retaliation claim may be met with

either direct or circumstantial evidence, and we have said that it involves questions

of fact that normally should be left for trial. Ulrich v. City & Cty. of San



      4
              As to the first element, plaintiffs were clearly observing and recording
law enforcement activity in public, as the district court found. Fordyce v. City of
Seattle, 55 F.3d 436, 439 (9th Cir. 1995) (recognizing plaintiff was exercising his
“First Amendment right to film matters of public interest” when filming activities
of police officers during a public protest march). The First, Third, Fifth, Seventh
and Eleventh Circuits have all recognized the public’s First Amendment right to
observe and film police activities in public. See Fields v. City of Philadelphia, 862
F.3d 353, 359–60 (3d Cir. 2017); Turner v. Lieutenant Driver, 848 F.3d 678, 688
(5th Cir. 2017); Gericke v. Begin, 753 F.3d 1, 7 (1st Cir. 2014); ACLU of Illinois v.
Alvarez, 679 F.3d 583, 600 (7th Cir. 2012); Smith v. City of Cumming, 212 F.3d
1332, 1333 (11th Cir. 2000). As to the second element of the retaliation claim, the
Federal Defendants do not challenge the district court’s finding that being shot
with less-lethal munitions like pepper balls, tear gas, and paint-marking munitions,
being pepper sprayed at close range, or being shoved by a law enforcement officer
would chill a person of ordinary firmness from continuing to exercise their First
Amendment rights.

                                          16
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 17 of 76




Francisco, 308 F.3d 968, 979 (9th Cir. 2002). The district court’s extensive and

thorough factual findings provide robust support for its conclusion that plaintiffs’

exercise of their First Amendment rights was a substantial or motivating factor in

the Federal Defendants’ conduct. To highlight just four of the district court’s

findings:

      •      On July 29, plaintiff Brian Conley was wearing a photographer’s vest
             marked “PRESS,” a helmet marked “PRESS,” and was carrying a
             large camera with an attached LED light and telephoto lens. After
             reviewing video footage submitted by plaintiffs, the district court
             found that Conley was filming a line of federal officers moving down
             the street pepper spraying peaceful protesters—including spraying a
             woman in the face at point blank range who was on her knees in the
             middle of the street with her hands up—when, without warning, a
             federal officer pepper sprayed Conley at point blank range.

      •      On the night of July 19, Jungho Kim, a photojournalist, was wearing a
             neon yellow vest marked “PRESS” and a white helmet marked
             “PRESS” on the front and rear. The district court found that Kim was
             standing alone, about 30 feet from federal agents, taking photographs,
             when suddenly and without warning, Kim was shot in the chest, just
             below his heart with a less-lethal munition. A photograph submitted
             with Kim’s declaration shows that he was shot where the word
             “PRESS” was printed on his vest.

      •      On the night of July 26, Daniel Hollis, a videographer, was wearing a
             press pass and a helmet marked “PRESS” in bright orange tape, and
             carrying a large, professional video-recording camera. Hollis was
             filming a group of federal agents massed outside the federal
             courthouse. “Almost immediately,” the federal agents shot at him,
             striking him just left of his groin. He turned and began to run away,
             but was shot again in the lower back.



                                          17
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 18 of 76




      •      On July 27, Amy Katz, a photojournalist, was wearing a hat and tank
             top marked “PRESS” and carrying a camera with a telephoto lens
             while covering the protests. Katz was photographing a federal agent
             who pushed a man down a flight of stairs while arresting him.
             Another federal agent physically blocked Katz and tried to stop her
             from photographing the arrest. Katz stepped to the side to continue
             photographing the arrest, and the federal agent physically shoved her
             away.

      Plaintiffs’ expert witness, Gil Kerlikowske, provided a declaration

supporting the district court’s conclusion that these incidents were retaliatory in

nature and did not reflect appropriate crowd-control tactics.5 Kerlikowske opined

that defending the federal courthouse in Portland mainly involves establishing a

perimeter around the building, and that there is no need to target or disperse

journalists. According to Kerlikowske, in crowd-control situations it is

inappropriate to shoot non-lethal munitions at a person’s head, chest, or back.

Kerlikowske also opined that pepper balls and tear gas canisters should not be

aimed at people at all, as those munitions are intended to be shot at the ground



      5
              The district court found Kerlikowske to be a “qualified, credible, and
persuasive expert witness.” Kerlikowske is a former Commissioner of U.S.
Customs and Border Protection, served as the Chief of Police in Seattle,
Washington for 10 years, and as the Police Commissioner in Buffalo, New York.
The district court recognized Kerlikowske’s “substantial training and experience
with crowd control and civil unrest in the context of protests [and] use of force in
that context,” and observed that Kerlikowske has “led and orchestrated the policing
of hundreds of large and potentially volatile protests, many of which were
considerably larger than the recent protests in Portland.”

                                          18
       Case 3:20-cv-01035-SI    Document 191      Filed 10/13/20   Page 19 of 76




where they explode and release their contents into the air. In his view, virtually all

of the journalists’ injuries were caused by the improper use of force, including

shooting people who were not engaged in threatening acts, and the Federal

Defendants’ misuse of crowd-control munitions.

      All told, the district court’s findings describe at least forty-five instances

similar to the four highlighted here, and all of them occurred between July 15 and

July 30 while plaintiffs were observing and recording the Black Lives Matter

protests in downtown Portland. The forty-five instances were “just several

examples selected” by the district court “from the extensive evidence provided by

Plaintiffs.” The court was clear that “[t]here are more.” Plaintiffs submitted a total

of nineteen declarations with their motions for a temporary restraining order and

preliminary injunction. Many of the events described by the declarations were

corroborated by accompanying photographs and video clips.

      Because the district court’s findings include so many instances in which

plaintiffs were standing nowhere near protesters while photographing and

observing the Federal Defendants’ actions, they provide exceptionally strong

evidentiary support for the district court’s finding that some of the Federal

Defendants were motivated to target journalists in retaliation for plaintiffs’ exercise

of their First Amendment rights. Indeed, in response to this shocking pattern of


                                          19
       Case 3:20-cv-01035-SI     Document 191      Filed 10/13/20   Page 20 of 76




misconduct, the dissent contemplates that plaintiffs’ allegations may well support

Bivens actions and claims of excessive force against individual federal agents.6

      The evidence that at least some of the Federal Defendants’ conduct was

retaliatory supports the district court’s conclusion that the plaintiffs are likely to

succeed on the merits of their retaliation claim. On this record, we do not hesitate

to conclude that the Federal Defendants have not made the required strong showing

that they are likely to prevail on the merits of the claim. This evidence of

retaliatory conduct also cuts against the emergency motion for a stay pending

appeal.7

                                            3

      The Federal Defendants have not shown that they are likely to succeed on

the merits of plaintiffs’ First Amendment right-of-access claim. To begin, the

Federal Defendants reframe the issue and mischaracterize the preliminary

injunction as recognizing a special, across-the-board exemption for members of the

press and legal observers. But the threshold issue presented is whether plaintiffs

      6
              A Bivens claim requires a showing of purposeful misconduct. See
Ashcroft v. Iqbal, 556 U.S. 662, 676–77 (2009).
      7
             The dissent argues that the retaliation claim does not justify enjoining
the Federal Defendants from issuing dispersal orders because the dispersal orders
themselves are not retaliatory. This argument overlooks that the preliminary
injunction expressly states the Federal Defendants are not precluded from issuing
lawful crowd-dispersal orders for a variety of reasons.

                                            20
       Case 3:20-cv-01035-SI         Document 191   Filed 10/13/20   Page 21 of 76




have a constitutionally protected right to access the public forum where the protests

are staged, and as the district court observed, the preliminary injunction does not

afford plaintiffs any special rights beyond those enjoyed by the general public

pursuant to the First Amendment.

       In Press-Enterprise II, the Supreme Court articulated a two-part test to

determine whether a member of the public has a First Amendment right to access a

particular place and process. Press-Ent. Co. v. Superior Court of Cal., 478 U.S. 1

(1986). First, a court must ask “whether the place and process has historically been

open to the press and general public” and “whether public access plays a

significant positive role in the functioning of the particular process in question.”

Id. at 8. If a qualified right of access exists, the government can overcome that

right and bar the public by showing that it has “an overriding interest based on

findings that closure is essential to preserve higher values and is narrowly tailored

to serve that interest.” Id. at 9.

       The Federal Defendants argue that the press is not entitled to any special

First Amendment right of access to observe and record the protests taking place on

Portland’s streets and sidewalks. But the Press-Enterprise II test is not dependent

upon plaintiffs’ occupation, and plaintiffs do not argue that it affords them a

special right of access not shared by the general public. We agree with plaintiffs


                                             21
       Case 3:20-cv-01035-SI     Document 191      Filed 10/13/20   Page 22 of 76




that the press is entitled to a right of access at least coextensive with the right

enjoyed by the public at large; the press is certainly not disfavored. See Pell v.

Procunier, 417 U.S. 817, 833–34 (1974). Indeed, the Supreme Court has

repeatedly observed that excluding the media from public fora can have

particularly deleterious effects on the public interest, given journalists’ role as

“surrogates for the public,” Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555,

572–73 (1980); Cox Broad. Corp. v. Cohn, 420 U.S. 469, 492 (1975) (“Without

the information provided by the press most of us and many of our representatives

would be unable to vote intelligently or to register opinions on the administration

of government generally.”). Recognizing the outsized effect of denying access to

the press, we have observed that the Supreme Court’s Press-Enterprise II test

“balances the vital public interest in preserving the media’s ability to monitor

government activities against the government’s need to impose restrictions if




                                            22
       Case 3:20-cv-01035-SI    Document 191    Filed 10/13/20   Page 23 of 76




necessary for safety or other legitimate reasons.” Leigh v. Salazar, 677 F.3d 892,

900 (9th Cir. 2012).8

      The Federal Defendants do not contest that the place—Portland’s streets and

sidewalks—and the process—public protests and law enforcement’s response to

them—have historically been open to the public. See Hague v. Comm. for Indus.

Org., 307 U.S. 496, 515 (1939) (“Wherever the title of streets and parks may rest,

they have immemorially been held in trust for the use of the public and, time out of

mind, have been used for purposes of assembly, communicating thoughts between

citizens, and discussing public questions.”).

      Public demonstrations and protests are clearly protected by the First

Amendment, and a protest not open to the press and general public is not a public

demonstration. See, e.g., Snyder v. Phelps, 562 U.S. 443, (2011) (reiterating that

“speech on matters of public concern . . . is at the heart of the First Amendment’s

protection” (internal quotation marks omitted)); City of Houston v. Hill, 482 U.S.


      8
               The Press-Enterprise II test emerged from a line of cases involving
access to criminal judicial proceedings, but by its terms the test is not limited to
any particular type of plaintiff or any particular type of forum. The Ninth Circuit
and several other courts have applied Press-Enterprise II’s analytical framework to
other settings, including planning commission meetings, student disciplinary
records, state environmental agency records, settlement records, transcripts of state
utility commission meetings, resumes of candidates for school superintendents, and
legislator’s telephone records, among others. See Leigh, 677 F.3d at 899 and n.5
(collecting cases).

                                          23
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 24 of 76




451, 472 (1987) (“[T]he First Amendment recognizes, wisely we think, that a

certain amount of expressive disorder not only is inevitable in a society committed

to individual freedom, but must itself be protected if that freedom would

survive.”); NAACP v. Claiborne Hardware Co., 458 U.S. 886, 907–12 (1982)

(holding that a boycott of local businesses “clearly involved constitutionally

protected activity” including “speech, assembly, association, and petition”);

Collins v. Jordan, 110 F.3d 1363, 1371 (9th Cir. 1996) (“Activities such as

demonstrations, protest marches, and picketing are clearly protected by the First

Amendment.”).

      Nor do the Federal Defendants deny that public access plays a significant

positive role in the functioning of our democracy. Just as streets and sidewalks

historically have been recognized as being open to the public, the press has long

been understood to play a vitally important role in holding the government

accountable.9 Indeed, the public became aware of the circumstances surrounding

George Floyd’s death because citizens standing on a sidewalk exercised their First




      9
             Leigh, 677 F.3d at 897 (“A popular Government, without popular
information, or the means of acquiring it, is but a Prologue to a Farce or a Tragedy;
or, perhaps both.” (quoting 9 WRITINGS OF JAMES MADISON 103 (G. Hunt ed.
1910))).

                                         24
        Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 25 of 76




Amendment rights and filmed a police officer kneeling on Floyd’s neck until he

died.

        “The free press is the guardian of the public interest,” and “[o]pen

government has been a hallmark of our democracy since our nation’s founding.”

Leigh, 677 F.3d at 897, 900. “In a society in which each individual has but limited

time and resources with which to observe at first hand the operations of his

government, he relies necessarily upon the press to bring to him in convenient

form the facts of those operations.” Cox Broad. Corp., 420 U.S. at 490–91.

Transparency assures that the government’s response is carried out “fairly to all

concerned,” and public access discourages “misconduct of participants, and

decisions based on secret bias or partiality.” Richmond Newspapers, 448 U.S. at

569. Given our deeply entrenched recognition of the public’s right to access city

streets and sidewalks, circuit precedent establishing the right to film public police

activity, and the broadly accepted principle that the public’s interest is served by

the role the press plays, the district court had strong support for its conclusion that

plaintiffs demonstrated a likelihood of success on the merits of their First

Amendment right-of-access claim.

        We are mindful that the Federal Defendants could have overcome plaintiffs’

right of access by demonstrating “an overriding interest based on findings that


                                           25
       Case 3:20-cv-01035-SI    Document 191      Filed 10/13/20   Page 26 of 76




closure is essential to preserve higher values and is narrowly tailored to serve that

interest.” Press-Enterprise II, 478 U.S. at 9. There is no question the Federal

Defendants have a strong interest in protecting federal property and persons on

federal property, and we do not doubt the district court’s findings related to the

difficult and dangerous situation posed by protesters who engaged in violent and

criminal conduct. But Federal Defendants argue that dispersing the press,

regardless of whether they are on federal property, is essential to protecting the

government’s interests. They further argue that their dispersal orders cannot be

tailored in any way and that the district court erred by granting a special exemption

from crowd-control measures to members of the press and legal observers. We

disagree.

      First, the district court did not grant a special exemption to the press; it

found that dispersing the press was not essential to protecting the government’s

interests. The district court was faced with a mountain of evidence that the Federal

Defendants routinely left federal property to engage in crowd control. The

injunction recognizes that the Federal Defendants did not claim the authority to

issue general dispersal orders on Portland’s streets and sidewalks, that local law

enforcement retains that authority pursuant to the general police power, and that

Portland’s law enforcement agreed not to require journalists and legal observers to


                                          26
       Case 3:20-cv-01035-SI     Document 191      Filed 10/13/20   Page 27 of 76




disperse. The preliminary injunction does nothing to hinder Federal Defendants

from arresting individuals engaged in violent or criminal acts.

      The Federal Defendants’ argument that the injunction grants a broad special

exemption to the plaintiffs hinges on the implied assumption that they have the

authority to take action to disperse members of the public who are neither on

federal property nor threatening it. At oral argument before our court, the Federal

Defendants declined to provide their view of the scope of their authority to take

such action, but the district court’s order makes clear that, in the district court, the

Federal Defendants did not argue they have “the legal authority to declare a riot

and order persons to disperse from the city streets in Portland.” We need not

precisely define the limits of the Federal Defendants’ authority in order to resolve

their emergency motion, but it cannot be debated that the United States

Constitution reserves the general police power to the states, U.S. CONST. amend. X;

United States v. Morrison, 529 U.S. 598, 618 (2000), and the district court found

that the Federal Defendants “routinely have left federal property and engaged in

crowd control and other enforcement on the streets, sidewalks, and parks of the

City of Portland.”

      The district court did not question that the provision relied upon by the

Federal Defendants, 40 U.S.C. § 1315, grants them the authority to protect federal


                                           27
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 28 of 76




property, including issuing and enforcing dispersal orders against people on or

threatening federal property. Paragraph six of the injunction expressly recognizes

that the Federal Defendants may issue “lawful crowd-dispersal orders for a variety

of lawful reasons.” In footnoting that the authority provided by § 1315 does not

allow the Federal Defendants to declare an unlawful assembly on the city’s streets

or to disperse people from city streets, the court carefully distinguished the Federal

Defendants’ ability to disperse people from federal property and described their

authority outside the property as limited to performing authorized duties “to the

extent necessary to protect the property and persons on the property.” 40

U.S.C. § 1315(b)(1) (emphasis added). But the Federal Defendants’ suggestion

that § 1315 confers authority to take action to disperse members of the public who




                                          28
       Case 3:20-cv-01035-SI    Document 191      Filed 10/13/20   Page 29 of 76




are neither on nor threatening federal property is dubious.10 See United States v.

Baldwin, 745 F.3d 1027, 1029 (10th Cir. 2014) (Gorsuch, J.) (discussing § 1315

and its implementing regulations as they relate to “[p]ersons in and on [Federal]

property” (alterations in original)). On remand, the district court may have

occasion to more precisely define the scope of the Federal Defendants’ authority if

the Federal Defendants indicate that they intend to issue dispersal orders outside of

federal property for lawful purposes.

      The district court was not persuaded that the Federal Defendants’ response

to the plaintiffs was essential or narrowly tailored to serve the government’s

interests. Press-Enterprise II, 478 U.S. at 9. The district court’s conclusions are

well supported and the Federal Defendants have not established that they will

likely prevail in their efforts to show that the dispersal of press was essential. Nor


      10
               Pursuant to § 1315, the Secretary of Homeland Security “shall protect
the buildings, grounds, and property that are owned, occupied, or secured by the
Federal Government . . . and the persons on the property.” 40 U.S.C. § 1315(a).
Relevant here, the governing regulations: (1) prohibit disorderly conduct “in or on
Federal property,” 41 C.F.R. § 102–74.390; (2) prohibit people “entering in or on
Federal property” from improperly disposing of rubbish on property, willfully
damaging property, stealing property, creating a hazard on property, throwing
articles at a building, or climbing on a building, 41 C.F.R. § 102–74.380; and (3)
require people “in and on property” to obey the “lawful direction of federal police
officers and other authorized individuals,” 41 C.F.R. § 102–74.385; United States
v. Baldwin, 745 F.3d 1027, 1029 (10th Cir. 2014) (Gorsuch, J.) (construing 41
C.F.R. § 102–74.385 as being applicable to people “in and on [Federal] property”
(alteration in original)).

                                          29
       Case 3:20-cv-01035-SI     Document 191     Filed 10/13/20   Page 30 of 76




did the Federal Defendants show that the need to defend federal property made it

impossible to tailor their dispersal orders.

      The district court cited plaintiffs’ expert, Kerlikowske, who opined that

“[d]efending the federal courthouse in Portland mainly involves establishing a

perimeter around the building, and there is no reason to target or disperse

journalists from that position.” The district court further relied on Kerlikowske’s

opinion that “trained and experienced law enforcement personnel are able to

protect public safety without dispersing journalists and legal observers and can

differentiate press from protesters, even in the heat of crowd control.” The district

court found this expert qualified, credible, and persuasive. Rather than deferring to

the court’s findings, the dissent examines the record anew, decides that

Kerlikowske did not adequately address crowd control, and questions the district

court’s tailoring analysis. But the Federal Defendants conceded that they made no

effort to tailor their response, and on the record at this preliminary stage they have

not made the strong showing required by Nken that dispersing the press was

essential or that their response was narrowly tailored to serve the government’s

interest in protecting federal property.

      We also agree with the district court that the City’s ability to comply with a

similarly worded injunction strongly undercuts the Federal Defendants’ argument.


                                           30
       Case 3:20-cv-01035-SI     Document 191     Filed 10/13/20   Page 31 of 76




The City has not required journalists and authorized legal observers to disperse

when it has issued crowd control orders to the protesters. After the district court

entered the first temporary restraining order against the City on July 2, the district

court “specifically invited the City to move for amendment or modification if the

original TRO was not working or to address any problems at the preliminary

injunction phase.” But the City did not seek modification. Instead, on July 16 the

City stipulated to entry of a preliminary injunction that was “nearly identical to the

original TRO.” The City’s willingness to tailor the dispersal orders it issues

pursuant to its general police power is strong evidence that the Federal Defendants’

dispersal of journalists and legal observers is not essential to defend federal

property, and that it is possible for the Federal Defendants to tailor their methods

more narrowly.

      By its terms, the preliminary injunction the district court entered against the

Federal Defendants addresses each of the reasons the Federal Defendants advanced

to argue that it was impossible to tailor their dispersal orders. As to the contention

that journalists or legal observers might interfere with federal law enforcement if

not required to disperse, the preliminary injunction expressly prohibits journalists

and legal observers from impeding, blocking, or otherwise interfering with the

lawful conduct of the Federal Defendants. The preliminary injunction leaves the


                                           31
       Case 3:20-cv-01035-SI     Document 191     Filed 10/13/20   Page 32 of 76




Federal Defendants free to make arrests if there is probable cause to believe a

crime has been committed, even if the perpetrator is dressed as a journalist or legal

observer. The preliminary injunction also provides that the Federal Defendants

will not be liable for violating the injunction if journalists or legal observers remain

in the area after a dispersal order is issued, and are incidentally exposed to crowd-

control devices. Finally, though the Federal Defendants argued that large and

unique identifying markings on their uniforms could inhibit their ability to carry

out their duties, the district court concluded they did not support this claim.

Indeed, the district court went to great lengths to make sure the terms of the

injunction do not impede the federal defendants’ ability to safely achieve their

mission.11

      The dissent faults us for deferring to the district court’s findings, but that is

precisely what our precedent requires. Walters, 145 F.3d at 1047. It is not our role



      11
             Plaintiffs’ expert Kerlikowske opined that identifiable markings on
law enforcement officers’ uniforms increase accountability, act as a check and
deterrent against misconduct, and will not interfere with federal officers’ ability to
perform their duties. This term of the injunction was added after the Federal
Defendants were unable to identify their own officers in videos submitted in
support of plaintiffs’ still-pending motion for sanctions and contempt of the July
23 TRO. The Federal Defendants contend the district court overreached, but
requiring the officers’ uniforms to bear unique identifiable markings is a common-
sense method to ensure that non-compliance with the court’s order may be
addressed.

                                           32
       Case 3:20-cv-01035-SI    Document 191      Filed 10/13/20   Page 33 of 76




to second-guess the district court’s factual findings; we review the district court’s

findings for clear error, and we do not see any. The dissent is not so constrained.

It reviews the facts de novo, reframes all of the protests as riots, and concludes the

Federal Defendants must be permitted to issue dispersal orders without limit. Yet

the majority of the protests have been peaceful, and the record is replete with

instances in which members of the press were targeted when they were not mixed

with, or even proximate to, protesters. Even the Federal Defendants recognize that

the general police power is reserved to the states, and the response to protesters on

the public streets of Portland is being handled by the state and local police. As for

the Federal Defendants’ actions on federal property, the injunction expressly

recognizes that the Federal Defendants are free to issue dispersal orders for a

variety of lawful reasons. Their authority to issue dispersal orders to protect

federal property has not been questioned.

      But on the record before us, the Federal Defendants have not shown the

general dispersal orders they issued were lawful, much less essential or narrowly

tailored. Press-Enterprise II, 478 U.S. at 9. We do not condone any form of

violence, nor did the district court, but the court found no evidence that any of the

named plaintiffs engaged in unlawful conduct. The many peaceful protesters,

journalists, and members of the general public cannot be punished for the violent


                                          33
       Case 3:20-cv-01035-SI    Document 191      Filed 10/13/20   Page 34 of 76




acts of others. “[T]he proper response to potential and actual violence is for the

government to ensure an adequate police presence . . . and to arrest those who

actually engage in such conduct, rather than to suppress legitimate First

Amendment conduct as a prophylactic measure.” Collins v. Jordan, 110 F.3d

1363, 1373 (9th Cir. 1996) (internal citations omitted). Accordingly, we conclude

the Federal Defendants have not made a strong showing that they are likely to

succeed on the merits of plaintiffs’ First Amendment right-of-access claim, nor that

this argument supports their emergency motion for a stay pending appeal.

                                           B

      We turn next to the second Nken factor: whether the Federal Defendants

have shown a likelihood they will suffer irreparable injury if the district court’s

preliminary injunction is not stayed pending appeal. Nken, 556 U.S. at 426. The

Federal Defendants contend the district court abused its discretion because the

scope of the injunction is unworkable. Specifically, they argue the injunction will

force federal officers to make snap judgments to distinguish journalists and legal

observers from protesters. They argue federal officers will face irreparable injury

absent a stay pending appeal because the preliminary injunction will hinder their

ability to safely protect federal property and people on federal property, and will




                                          34
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 35 of 76




generally place them in the untenable position of having to choose between risking

their safety and violating the preliminary injunction.

      The district court was not persuaded, and for purposes of their emergency

motion for a stay pending appeal, the Federal Defendants have not shown that the

court likely erred. First, as we have explained, the preliminary injunction entered

against the Federal Defendants is one of two preliminary injunctions the district

court entered. In a separate preliminary injunction, the City stipulated that it would

not require journalists and legal observers to disperse from Portland’s streets and

sidewalks after it issues general dispersal orders. In the lengthy preliminary

injunction the court issued to address the Federal Defendants’ conduct, the court

took pains to explain that the general police power is reserved to the states, and that

the Federal Defendants had not taken the position that they had the authority to

issue general dispersal orders on Portland’s streets and sidewalks.

      Second, it is clear the district court has worked tirelessly to respond to a

tense and sometimes chaotic situation. In order to provide clear direction, the

district court required the Federal Defendants to broadly disseminate, to the federal

agents responding to the protesters, the three pages of its opinion and order that

enumerate the terms of the injunction. The Federal Defendants read one sentence

from the three-page excerpt in isolation and argue that the preliminary injunction


                                          35
       Case 3:20-cv-01035-SI     Document 191     Filed 10/13/20   Page 36 of 76




provides a special, citywide exemption to dispersal orders for journalists and legal

observers. In fact, it is apparent the district court was actually providing the

Federal Defendants with an unambiguous statement of actions they may and may

not take in the field, including the requirement that the Federal Defendants mark

their uniforms in some way to allow officers to be identified, thereby incentivizing

compliance with the court’s orders. Read as a whole, the preliminary injunction

does not provide a special exemption for journalists and legal observers. Rather,

the terms of the injunction account for the City’s stipulation that journalists and

legal observers will not be required to disperse from Portland’s streets and

sidewalks. The injunction also accounts for the district court’s finding that the

Federal Defendants, at least at this preliminary stage, have not shown that it is

essential to disperse press to protect federal property, nor that their response was

narrowly tailored.

      Third, the preliminary injunction unambiguously provides that the Federal

Defendants will not be held liable for violating the preliminary injunction by

incidentally exposing journalists or legal observers to otherwise lawful crowd-

control measures. The Federal Defendants’ argument that they may be irreparably

harmed if individuals disguise themselves as journalists or legal observers in order

to commit crimes or interfere with law enforcement is similarly unpersuasive


                                          36
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 37 of 76




because the order explicitly allows the Federal Defendants to arrest anyone if they

have probable cause to believe a crime is being committed—regardless of whether

that person is, or appears to be, a journalist or legal observer. The preliminary

injunction expressly prohibits journalists and legal observers from impeding,

blocking, or otherwise physically interfering with the lawful activities of the

Federal Defendants.

      The district court recognized that Federal Defendants have sustained injuries

over the course of the summer, but found no evidence that any of the named

plaintiffs engaged in any of the unlawful conduct that caused their injuries, and the

Federal Defendants point to no evidence that the injuries they sustained were more

severe or more frequent during the time they were operating under the substantially

similar terms of the July 23 TRO, or that the alleged confusion in distinguishing

between protestors and plaintiffs resulted in any injury.

      The district court was heavily influenced by the City’s agreement to enter

into a stipulated preliminary injunction that largely mirrors the preliminary

injunction entered against the Federal Defendants, and observed “[t]he City did not

contend that the terms of the stipulated preliminary injunction were intrusive,

unworkable, or vague.” In fact, the City supported entry of the instant preliminary

injunction against the Federal Defendants, arguing “[t]he actions of [F]ederal


                                          37
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 38 of 76




[D]efendants are escalating violence, inflaming tensions in [Portland], and harming

Portlanders who seek to engage in nonviolent protests in support of racial justice.”

      Plaintiffs’ expert, Gil Kerlikowske, also seriously undermined the Federal

Defendants’ argument that they faced irreparable injury. Relying on

Kerlikowske’s expert opinion, the district court concluded that the Federal

Defendants’ concerns regarding the workability of the injunction were

exaggerated. The district court noted Kerlikowske’s statement that “during his

tenure in Seattle, law enforcement did not target or disperse journalists and there

were no adverse consequences.” Kerlikowske opined that the prohibitions

contained in the July 23 temporary restraining order, which the district court

incorporated into the preliminary injunction, were both safe and workable for law

enforcement. Kerlikowske stated that dispersing press and legal observers is not

necessary to protect public safety, and further explained that trained and




                                          38
       Case 3:20-cv-01035-SI     Document 191      Filed 10/13/20   Page 39 of 76




experienced law enforcement personnel can differentiate press from protesters in

the heat of crowd control.12

      On the present record, despite the Federal Defendants’ assertion that all of

their officers and agents are adequately trained, the district court found numerous

instances in which Federal Defendants shot munitions directly at journalists’ and

legal observers’ chests, arms, backs, and heads while they were standing entirely

apart from the protesters. These methods directly conflict with Kerlikowske’s

opinion that crowd-control munitions are not appropriately aimed at the upper

body, and that pepper balls and tear gas canisters should not be aimed at people at

all. We review the court’s findings for clear error, and for purposes of the Federal

Defendants’ emergency motion, the Federal Defendants have not shown that they

will likely establish the district court’s findings are clearly erroneous.

      We also conclude the Federal Defendants’ have not made the required

showing that they will suffer irreparable harm if the preliminary injunction is not



      12
              Plaintiffs’ briefing repeatedly asserts that the Federal Defendants lack
crowd control training, and the Federal Defendants repeatedly respond that they are
trained in the appropriate use of force. At this preliminary stage, the record did not
allow the district court to determine whether the Federal Defendants differentiate
between crowd control training and training in the proper use of force. Nor does
the record make clear whether the training provided to U.S. Marshals differs from
the training provided to personnel from the Department of Homeland Security.
Those questions may be resolved at a later stage in the proceedings.

                                           39
       Case 3:20-cv-01035-SI     Document 191     Filed 10/13/20   Page 40 of 76




stayed pending a decision on the merits of their appeal. The district court took care

to address the Federal Defendants’ concerns regarding the workability of the

injunction. The terms of the injunction itself adequately address their concerns,

and the Federal Defendants’ continued objection that the injunction is unworkable

is undermined by the City’s agreement to operate pursuant to a substantially

similar order. Kerlikowske’s opinions, which the court found persuasive and

credible, further support the district court’s finding that the terms of the

preliminary injunction are safe and workable.

      The dissent decides that the Federal Defendants are likely to suffer

irreparable harm absent a stay pending appeal because the preliminary injunction

does not explain how arresting individual suspects is as feasible or safe as using

general crowd control tactics during a riot. But the district court found that the

protests have been largely peaceful, and the preliminary injunction does not

prevent the Federal Defendants from issuing lawful dispersal orders to protect

federal property if and when it is threatened by violent protests. We conclude the

Federal Defendants have not shown that they will suffer irreparable injury if the

district court’s preliminary injunction is not stayed.

                                           C




                                           40
        Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 41 of 76




        The Federal Defendants have not satisfied the first two Nken factors, but we

briefly note that the final two factors also strongly suggest the Federal Defendants’

motion must be denied. See Nken, 556 U.S. at 435; Al Otro Lado, 952 F.3d at

1006.

                                            1

        The third Nken factor asks whether the other parties to the litigation will be

substantially injured if the district court’s preliminary injunction is stayed pending

appeal. Nken, 556 U.S. at 426.

        The City supported the imposition of the preliminary injunction against the

Federal Defendants. As explained, the City asserted that the Federal Defendants’

presence in Portland escalated violence and inflamed tensions. Although the

Federal Defendants have entered into some type of agreement with Governor

Brown, the district court voiced “serious concerns that the Federal Defendants

have not fully complied with the Court’s original TRO.” The district court also

highlighted evidence in the record suggesting intentional targeting of journalists or

legal observers after the imposition of the TRO. Further, the district court found

that the day after the Federal Defendants reached the agreement with the Governor,

federal agents fired tear gas at journalists standing nowhere near protesters. In

light of this evidence, and the Federal Defendants’ stated intention to remain in


                                           41
       Case 3:20-cv-01035-SI     Document 191      Filed 10/13/20   Page 42 of 76




Portland to continue to protect the federal buildings should they deem local

authorities’ efforts unsatisfactory, the likelihood that the City will suffer substantial

injury supports denial of the emergency motion for a stay pending appeal.

      Plaintiffs also face substantial injury if the Federal Defendants’ motion is

granted because the district court found that the Federal Defendants’ conduct

chilled the exercise of their First Amendment rights. The district court made this

finding after reviewing plaintiffs’ vivid descriptions and photographic evidence of

injuries they sustained as bystanders. “It is well established that the deprivation of

constitutional rights ‘unquestionably constitutes irreparable injury.” Melendres v.

Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (quoting Elrod v. Burns, 427 U.S. 347,

373 (1976)); see also, e.g., Assoc. Press v. Otter, 682 F.3d 821, 826 (9th Cir. 2012)

(“The loss of First Amendment freedoms, even for minimal periods of time,

unquestionably constitutes irreparable injury.”). In sum, the Federal Defendants

have failed to show that the other parties to the litigation will not be substantially

injured if the district court’s preliminary injunction is stayed pending appeal.

                                            2

      The fourth Nken factor requires courts to determine where the public interest

lies. Nken, 556 U.S. at 426. When the government is a party, the irreparable injury

and public interest factors merge, id. at 435, but the Federal Defendants are


                                           42
       Case 3:20-cv-01035-SI     Document 191      Filed 10/13/20   Page 43 of 76




incorrect to suggest that a showing of harm to the government commands the

conclusion that the public interest weighs entirely in favor of whichever outcome

the government seeks. Our court has consistently balanced the public interest on

the side of the plaintiffs against the public interest on the side of the government to

determine where the public interest lies. See, e.g., Padilla v. Immigration &

Customs Enforcement, 953 F.3d 1134, 1147–48 (9th Cir. 2020) (determining the

“balance of the equities and public interest favors plaintiffs”).

      Here, the public interest on the Federal Defendants’ side is the uncontested

interest in protecting federal agents and property. The harms the Federal

Defendants assert relate to the potential challenges the preliminary injunction poses

to their ability to safely and effectively protect federal property and personnel. On

the other hand, plaintiffs also assert a strong public interest: “It is always in the

public interest to prevent the violation of a party’s constitutional rights.” Padilla,

953 F.3d at 1147–48 (internal quotation marks omitted). When weighing public

interests, courts have “consistently recognized the significant public interest in

upholding First Amendment principles.” Assoc. Press, 682 F.3d at 826 (quoting

Sammartano v. First Judicial Dist. Court, 303 F.3d 959, 974 (9th Cir. 2002),

abrogated on other grounds by Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7,

22 (2008)). The Federal Defendants assert a very important public interest, but the


                                           43
          Case 3:20-cv-01035-SI   Document 191     Filed 10/13/20   Page 44 of 76




record fully supports the district court’s conclusion that the Federal Defendants’

interest does not require dispersing plaintiffs. They have not threatened federal

property, and the journalists, in particular, provide a vitally important service to the

public. Accordingly, the final Nken factor does not weigh in favor of a stay.

          The Federal Defendants have not made a strong showing that they are likely

to succeed on the merits of plaintiffs’ claims. Nor have they shown that they are

likely to suffer irreparable injury as a result of the district court’s preliminary

injunction. Further, a stay of the district court’s injunction would substantially

injure both the City and the plaintiffs. For these reasons, we cannot say at this

juncture that the Federal Defendants are entitled to a stay of the preliminary

injunction pending appeal. The Federal Defendants’ emergency motion for a stay

pending appeal is DENIED, and the administrative stay entered August 27, 2020 is

lifted.




                                           44
         Case 3:20-cv-01035-SI   Document 191    Filed 10/13/20   Page 45 of 76




Index Newspapers v. U.S. Marshals Serv., No. 20-35739
                                                                          FILED
                                                                           OCT 9 2020
O’SCANNLAIN, J., dissenting:
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
        In the words of the majority—and I agree—“the district court has worked

tirelessly to respond to a tense and sometimes chaotic situation” 1 arising from

peaceful urban protest events that have degenerated into riots and destructive mob

violence, resulting, inevitably, in crowd dispersal actions by law enforcement.

Unfortunately, because the constitutional interests of the parties are misaligned in

the provisions of the injunction before us, I must, respectfully, dissent from the

order. Since the government is likely to prevail on the merits and the other

requisite factors are met, I would grant the motion for stay pending appeal.

        With its decision today, the majority of this motions panel validates the

transformation of the First Amendment-based “right of public access” to

governmental proceedings into a special privilege for self-proclaimed journalists

and “legal observers” to disregard crowd dispersal orders issued by federal law

enforcement officers. The district court’s injunction erroneously curtails an

important law enforcement tool for responding to protest events that threaten

federal property and personnel, thereby limiting options available for federal

officers precisely when they are most needed. While well-meaning, the district

court’s decision constitutes a significant and unwarranted departure from the


1
    Majority Opinion at 35.
                                           1
       Case 3:20-cv-01035-SI      Document 191    Filed 10/13/20   Page 46 of 76




traditional, qualified “right of public access” to criminal judicial proceedings that

has been carefully delineated by the Supreme Court. In short, the majority’s

decision approves the mutation of a very limited historical right reinforced by a

millennium of legal tradition into a broad, amorphous entitlement that finds

support nowhere in our precedents or in the historical sources of the First

Amendment.

      Similarly, the majority’s decision to uphold the injunction before us

ostensibly rests on the deference that it accords to the district court’s factual

findings with respect to plaintiffs’ “retaliation” claim, which, indeed, reveal quite a

disturbing pattern of apparent misconduct by certain federal officers. But even

these unfortunate facts cannot justify granting journalists and “legal observers” a

unique exemption from lawful dispersal orders—orders that were neither found,

nor alleged, to be retaliatory.

                                            I

      Because the facts set forth in the majority opinion do not adequately reveal

the full picture, I respectfully restate them as found in the record.

                                           A

      In the early morning of July 3, 2020, the recent and ongoing political

protests in downtown Portland, Oregon took a violent and destructive turn. Rioters

smashed the glass entryway doors of the Mark O. Hatfield Federal Courthouse and

                                           2
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 47 of 76




attempted to set fire to the building. They threw balloons containing an accelerant

into the lobby and fired powerful commercial fireworks toward the accelerant,

which ignited a fire in the lobby. Vandalism, destruction of property, and assault

on federal law enforcement officers securing the building continued throughout the

Fourth of July holiday weekend, and federal agents made multiple arrests.

      Before July 3rd, federal law enforcement officers at the Hatfield Courthouse

had been stationed in a defensive posture, intended to de-escalate tensions with

protesters by remaining inside and responding only to breach attempts on the

building and assaults on personnel or to other serious crimes. With limited support

from the Portland Police Bureau (“PPB”), however, federal agents struggled to

contain protests that often focused on the Courthouse and frequently devolved into

violence in the late evenings and early mornings.

      When this pattern of violent unrest culminated in the July 3rd attack, the

Department of Homeland Security (“DHS”) changed its tactics and authorized

federal agents to take additional action to protect the Courthouse, and to identify

and to arrest serious offenders. After federal officers adopted this more assertive

posture, the protests became larger and more intense. These protest events were

chaotic and dynamic, and federal officers had frequent confrontations with rioters.

According to DHS’s Gabriel Russell, the law enforcement officer leading the

federal response in Portland, 120 federal officers experienced injuries, including

                                          3
      Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 48 of 76




broken bones, hearing damage, eye damage, a dislocated shoulder, sprains, strains,

and contusions. Conflict between federal officers and rioters continued until the

early morning of July 30th, after which incidents diminished as a result of DHS

reaching an agreement with the Governor of Oregon for the Oregon State Police to

provide security in the areas adjacent to the Hatfield Courthouse.

      During the period of unrest, journalists and “legal observers” ostensibly

reporting on law enforcement’s response to the riots were frequently interspersed

with protesters when events degenerated into violence. Some of these individuals

even participated in violent and unlawful conduct, including assaults on federal

officers and destruction of federal property. For example, a person with a helmet

marked “press” used a grinder to attempt to breach the fence surrounding the

Hatfield Courthouse. Another person with a “press” helmet entered Courthouse

property and encouraged others to join, yelling to the crowd that “they can’t arrest

us all!” A man wearing a vest labeled “press” was seen throwing a hard object

toward police. In yet another incident, a Courthouse staff member reported being

kicked by someone wearing clothing marked “press.”

                                         B

      Plaintiffs are a newspaper organization and individual journalists and “legal

observers,” some of whom are affiliated with the National Lawyers Guild (“NLG”)

and the American Civil Liberties Union (“ACLU”). They allege that federal law

                                          4
       Case 3:20-cv-01035-SI    Document 191      Filed 10/13/20   Page 49 of 76




enforcement officers with DHS and the U.S. Marshals Service (“USMS”)

operating in Portland during the month of July (1) infringed their First Amendment

“right of access” to public streets and sidewalks to observe and to document law

enforcement’s response to the riots near the Hatfield Courthouse; and, (2)

deliberately and unlawfully “retaliated” against them for exercising their putative

First Amendment right to report on those events by targeting them with tear gas,

less-lethal munitions, and pepper spray.

      Plaintiffs initially filed suit against the City of Portland, and unnamed

individual PPB officers, in federal district court, alleging similar constitutional

violations arising out of the PPB’s response to the protest events. For example,

Plaintiffs alleged a “broader pattern of the Portland police repeatedly and

intentionally shooting, gassing, and beating journalists and [legal] observers.”

Among other incidents, Plaintiffs alleged that the PPB slammed a reporter from

The Oregonian in the back with a truncheon, even as she was displaying her press

pass, and shoved a reporter from the Portland Tribune into a wall, after he had

identified himself as media, when he initially refused to comply with an order to

disperse. Plaintiffs further alleged that the PPB had publicly announced that it

would use force to disperse reporters unless they had been previously selected to

embed with officers. Plaintiffs obtained a temporary restraining order (“TRO”)

against the PPB, without the City of Portland’s consent, on July 2nd, with terms

                                           5
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 50 of 76




similar to those contained in the instant preliminary injunction. In its order

granting the TRO, the district court concluded that Plaintiffs had demonstrated

“serious questions going to the merits” with respect to their claim of a First

Amendment-based “right of public access” to observe law enforcement’s response

to protest events. The TRO specified that press and “legal observers” were exempt

from any orders to disperse issued by the PPB.

      After alleged retaliation by a federal law enforcement agent on July 12th,

plaintiffs filed an emergency motion seeking the district court’s leave to file an

amended complaint describing such incident and also adding DHS and USMS as

defendants in the case. The City of Portland filed an objection, arguing, inter alia,

that plaintiffs’ claims against the City of Portland and those against DHS and

USMS raised no common questions of law or fact. The City maintained that PPB

operates under fundamentally different conditions than federal law enforcement

agencies, including different directives governing the use of force, different

limitations on the use of force, and a separate command structure.

      On July 16th, before the district court had an opportunity to rule on the

motion to bring DHS and USMS into the case, plaintiffs and the City jointly filed a

“Stipulated Preliminary Injunction” that substantially mirrored the TRO’s terms.

The following day, the district court granted plaintiffs’ motion for leave to file the

operative Second Amended Complaint.

                                           6
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 51 of 76




      The Second Amended Complaint sets forth independent causes of action

based on the First and Fourth Amendments of the U.S. Constitution and Article I,

Sections 8 and 26 of the Oregon Constitution. It seeks both damages and equitable

relief. The day it was filed, Plaintiffs immediately moved for a TRO against DHS

and USMS, with the request for injunctive relief limited only to their

aforementioned First Amendment claims.

      On July 22nd, the City filed a brief in support of the entry of the TRO

against DHS and USMS. The City accused both agencies of escalating violence,

harming non-violent protesters, and effectively kidnapping people off of Portland

streets. Notably, on the same day, the Portland City Council passed a resolution

prohibiting the PPB from cooperating with federal officers deployed in Portland.

      The district court granted the TRO on July 23rd and extended it for an

additional 14 days on August 6th. On August 20th, the district court entered the

instant preliminary injunction, from which DHS and USMS now seek emergency

relief pending appeal.

      The preliminary injunction provides, among other things, that journalists and

“legal observers” are exempt 2 from general dispersal orders issued by federal


2
 The precise language of the district court’s order provided that journalists and
“legal observers” “shall not be required to disperse following the issuance of an
order to disperse, and such persons shall not be subject to arrest for not dispersing
following the issuance of an order to disperse.”

                                          7
       Case 3:20-cv-01035-SI     Document 191     Filed 10/13/20    Page 52 of 76




officers. It further requires that federal officers refrain from using force or

threatening arrest to compel such persons to disperse after an order to disperse has

been issued. It also sets forth a non-exclusive list of indicia by which officers are

to determine who qualifies as a journalist or “legal observer.” 3


3
  The eight-part injunction entered by the district court is lengthy, not to say
labyrinthine, but warrants repetition in full for appreciation of its extraordinary
scope:

    1. The Federal Defendants, their agents and employees, and all persons acting
       under their direction are enjoined from arresting, threatening to arrest, or
       using physical force directed against any person whom they know or
       reasonably should know is a Journalist or Legal Observer (as explained
       below), unless the Federal Defendants have probable cause to believe that
       such individual has committed a crime. For purposes of this Order, such
       persons shall not be required to disperse following the issuance of an order
       to disperse, and such persons shall not be subject to arrest for not dispersing
       following the issuance of an order to disperse. Such persons shall, however,
       remain bound by all other laws. No Journalist or Legal Observer protected
       order this Order, however, may impede, block, or otherwise physically
       interfere with the lawful activities of the Federal Defendants.

    2. The Federal Defendants, their agents and employees, and all persons acting
       under their direction are further enjoined from seizing any photographic
       equipment, audio- or video- recording equipment, or press passes from any
       person whom they know or reasonably should know is a Journalist or Legal
       Observer (as explained below), or ordering such person to stop
       photographing, recording, or observing a protest, unless the Federal
       Defendants are also lawfully seizing that person consistent with this Order.
       Except as expressly provided in Paragraph 3 below, the Federal Defendants
       must return any seized equipment or press passes immediately upon release
       of a person from custody.

    3. If any Federal Defendant, their agent or employee, or any person acting
       under their direction seize property from a Journalist or Legal Observer who
       is lawfully arrested consistent with this Order, such Federal Defendant shall,
                                           8
   Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 53 of 76




   as soon thereafter as is reasonably possible, make a written list of things
   seized and shall provide a copy of that list to the Journalist or Legal
   Observer. If equipment seized in connection with an arrest of a Journalist or
   Legal Observer lawfully seized under this Order is needed for evidentiary
   purposes, the Federal Defendants shall promptly seek a search warrant,
   subpoena, or other court order for that purpose. If such a search warrant,
   subpoena, or other court order is denied, or equipment seized in connection
   with an arrest is not needed for evidentiary purposes, the Federal Defendants
   shall immediately return it to its rightful possessor.

4. To facilitate the Federal Defendants’ identification of Journalists protected
   under this Order, the following shall be considered indicia of being a
   Journalist: visual identification as a member of the press, such as by carrying
   a professional or authorized press pass, carrying professional gear such as
   professional photographic equipment, or wearing a professional or
   authorized press badge or other official press credentials, or distinctive
   clothing, that identifies the wearer as a member of the press. It also shall be
   an indicium of being a Journalist under this Order that the person is standing
   off to the side of a protest, not engaging in protest activities, and not
   intermixed with persons engaged in protest activities, although these are not
   requirements. These indicia are not exclusive, and a person need not exhibit
   every indicium to be considered a Journalist under this Order. The Federal
   Defendants shall not be liable for unintentional violations of this Order in
   the case of an individual who does not carry or wear a press pass, badge, or
   other official press credential, professional gear, or distinctive clothing that
   identifies the person as a member of the press.

5. To facilitate the Federal Defendants’ identification of Legal Observers
   protected under this Order, the following shall be considered indicia of being
   a Legal Observer: wearing a green National Lawyers Guild-issued or
   authorized Legal Observer hat (typically a green NLG hat) or wearing a blue
   ACLU-issued or authorized Legal Observer vest. It also shall be an indicium
   of being a Legal Observer protected under this Order that the person is
   standing off to the side of a protest, not engaging in protest activities, and
   not intermixed with persons engaged in protest activities, although these are
   not requirements.

6. The Federal Defendants are not precluded by the Order from issuing
   otherwise lawful crowd-dispersal orders for a variety of lawful reasons. The
                                     9
      Case 3:20-cv-01035-SI    Document 191    Filed 10/13/20   Page 54 of 76




      A prior motions panel of this court entered an administrative stay of the

injunction pending the adjudication of the government’s motion for emergency


      Federal Defendants shall not be liable for violating this injunction if a
      Journalist or Legal Observer is incidentally exposed to crowd-control
      devices after remaining in the area where such devices were deployed after
      the issuance of an otherwise lawful dispersal order.

   7. Plaintiffs and the Federal Defendants shall promptly confer regarding how
      the Federal Defendants can place unique identifying markings (using
      numbers and/or letters) on the uniforms and/or helmets of the officers and
      agents of the Federal Defendants who are specially deployed to Portland so
      that they can be identified at a reasonable distance and without unreasonably
      interfering with the needs of these personnel. Based on the Court’s
      understanding that Deputy U.S. Marshals and Courtroom Security Officers
      stationed in Portland who are under the direction of the U.S. Marshal for the
      District of Oregon are not part of the force that has given rise to events at
      issue in the lawsuit, they are exempt from this requirement. Agents wearing
      plain clothes and assigned to undercover duties also are exempt from this
      requirement. If the parties agree on a method of marking, they shall submit
      the terms of their agreement in writing to the Court, and the Court will then
      issue a modified preliminary injunction that incorporates the parties’
      agreement. If the parties cannot reach agreement within 14 days, each party
      may submit its own proposal, and each side may respond to any other
      party’s proposal within seven days thereafter. The Court will resolve any
      disputes on this issue and modify this preliminary injunction appropriately.

   8. To promote compliance with this Preliminary Injunction, the Federal
      Defendants are ordered to provide copies of the verbatim text of the first
      seven provisions of this Preliminary Injunction, in either electronic or paper
      form, within 14 calendar days to: (a) all employees, officers, and agents of
      the Federal Defendants currently deployed in Portland, Oregon (or who later
      become deployed in Portland, Oregon while this Preliminary Injunction is in
      force), including but not limited to all personnel in Portland, Oregon who are
      part of Operation Diligent Valor, Operation Legend, or any equivalent; and
      (b) all employees, officers, and agents of the Federal Defendants with any
      supervisory or command authority over any person in group (a) above.

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       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 55 of 76




relief. As the court, in its role as this motions panel, today denies such emergency

request for a stay pending appeal, the injunction will go back into effect and this

matter will proceed before the district court, pending disposition of the

government’s appeal of the preliminary injunction by a merits panel of this court.

Plaintiffs’ Fourth Amendment and state constitutional claims did not form part of

the request for preliminary relief and remain pending before the district court, as

do plaintiffs’ requests for compensatory and punitive damages, attorney’s fees, and

costs. As the City’s stipulation to a preliminary injunction resolved only Plaintiffs’

request for equitable relief, Plaintiffs’ remaining claims against the City and

individual PPB officers also remain pending in the district court.

                                          II

      I agree with the majority that the Nken v. Holder factors must determine our

disposition of the government’s request for emergency relief, but I respectfully

disagree with how the majority analyzes those factors. 556 U.S. 418, 426 (2009).

I address each factor in turn, beginning with the government’s burden to make a

strong showing of likelihood of success on the merits.4



4
 Upon appeal of a preliminary injunction, the district court’s conclusions of law
are reviewed de novo, its underlying factual findings are reviewed for clear error,
and the scope of the injunction is reviewed for abuse of discretion. Padilla v.
Immigration & Customs Enf’t, 953 F.3d 1134, 1141 (9th Cir. 2020). In addition,
“we review First Amendment questions de novo since they present mixed
questions of law and fact, requiring us to apply principles of First Amendment
                                          11
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 56 of 76




      The district court granted injunctive relief on the basis of Plaintiffs’ two

First Amendment claims: (1) a “right of public access” to public streets and

sidewalks to observe and to document law enforcement officers engaged in riot

control and crowd dispersal; and (2) a right to be free from “retaliation” by federal

officers for reporting on law enforcement’s response to civil unrest.

                                          A

                                          1

      With respect to the “right of public access” issue, the district court purported

to apply the framework articulated in Press-Enterprise Co. v. Superior Court of

Cal. (“Press-Enterprise II”) for evaluating “claim[s] of a First Amendment right of

access to criminal proceedings[.]” 478 U.S. 1, 8–9 (1986). Pursuant to that

doctrine, in evaluating a purported claim of public access to a proceeding, a court

must consider: (1) “whether the place and process have historically been open to

the press and general public;” and (2) “whether public access plays a significant

positive role in the functioning of the particular process in question.” Id. “If the

particular proceeding in question passes these tests of experience and logic, a

qualified First Amendment right of public access attaches.” Id. “A presumptive

right of access to any particular proceeding may be overcome by an overriding


jurisprudence to the specific facts of this case.” Gerritsen v. City of Los Angeles,
994 F.2d 570, 575 (9th Cir. 1993).

                                          12
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20     Page 57 of 76




government interest based on findings that closure is essential to preserve higher

values and is narrowly tailored to serve that interest.” Id.

      But the First Amendment-based right of public access and its corresponding

framework have never been deemed to apply to riot control and crowd dispersal in

a public street. 5 The Supreme Court has discussed only a qualified right of access

to certain criminal judicial proceedings and has never recognized a right of public

access outside of that context. See Press-Enterprise II, 478 U.S. at 8–9 (right of

public access to preliminary hearings in criminal cases); Press-Enterprise Co. v.

Superior Court of Cal., 464 U.S. 501, 503, 508 (1984) (right of public access to

voir dire hearings in criminal cases); Richmond Newspapers, Inc. v. Virginia, 448

U.S. 555, 580 (1980) (right of public access to criminal trials).




5
  The majority, echoing arguments offered by plaintiffs’ counsel, invokes prior
decisions of our court referencing a First Amendment-based right to record law
enforcement activity in public. See Reed v. Lieurance, 863 F.3d 1196, 1211 (9th
Cir. 2017); Fordyce v. City of Seattle, 55 F.3d 436, 439 (9th Cir. 1995). Those
cases are inapposite, however, as they do not address situations where law
enforcement is responding to rioting and violent unrest. At most, those cases
merely recognize the right of a person to use a recording device in a public forum,
before any measures have been taken to restrict access to the forum, such as
issuance of a general dispersal order. They certainly do not stand for the
extraordinary proposition that an individual is exempt from a dispersal order or
other riot control measure merely because he is engaged in the act of recording law
enforcement operations. Moreover, as a matter of doctrine, neither case applied
right-of-public-access analysis. In fact, Reed applied public forum analysis, which
the district court notably chose not to do here. 863 F.3d at 1211. Cf. fn. 9, infra.
                                          13
      Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 58 of 76




      In the decades since Press-Enterprise II, the courts of appeals have

expanded the right-of-public-access doctrine considerably beyond its initial,

paradigmatic application to criminal proceedings—including, in our court, to a

variety of non-criminal, non-adjudicative, governmental proceedings, such as a

horse gather on federal land, Leigh v. Salazar, 677 F.3d 892, 894 (9th Cir. 2012),

and a referendum on a regulatory order conducted by the U.S. Department of

Agriculture, Cal-Almond, Inc. v. U.S. Dept. of Agriculture, 960 F.2d 105, 109 (9th

Cir. 1992)—but the doctrine is not without limit. Rather, the Press-Enterprise II

framework has been confined to claims of access to specific governmental

proceedings and has never been applied to public spaces in general or to private

events therein. Cf. Leigh, 677 F.3d at 894 (evaluating access to horse gather, not to

federal lands); Whiteland Woods, L.P. v. Township of W. Whiteland, 193 F.3d 177,

181 (3d Cir. 1999) (evaluating access to town planning commission meeting, not to

town hall). Here, protests in a public street are privately sponsored and organized

events, and when they degenerate into riots, the crowd control measures taken by

law enforcement are spontaneous and temporary responses to ongoing criminal

activity. Protests and resulting riots are simply not governmental proceedings to

which a right of public access may be claimed.6


6
 Curiously, the complaint might be better viewed as claiming a “right of
exclusion” from crowd dispersal actions by federal law enforcement. Plaintiffs
seek access to a putative proceeding, the necessary impact of which they actually
                                         14
       Case 3:20-cv-01035-SI     Document 191     Filed 10/13/20   Page 59 of 76




      Similarly, even where the Press-Enterprise II framework applies, it requires

a court to evaluate a claim of access by first determining whether “the place and

the process” have historically been open to the public, and whether the public’s

presence plays a critical role in the specific proceeding at issue. 478 U.S. at 8–9

(emphasis added). Here, the district court noted that streets, sidewalks, and parks

constitute traditional public fora, which have been open to speech and expression

from “time out of mind,” Hague v. Comm. for Indus. Org., 307 U.S. 496, 515

(1939), but it failed to evaluate any history of public access to law enforcement

operations responding to ongoing criminal activity, including violent civil unrest

that threatens federal property and personnel. In the absence of historical analysis

regarding the proceeding, as distinguished from the place, a presumptive right of

public access simply does not attach. Cf. Leigh, 677 F.3d at 894 (calling for

inquiry into history of public access to horse gathers, not to federal lands).

      The district court’s reasoning here is reflective of an emerging pattern of

lower courts expanding the right-of-public-access doctrine well beyond its original

scope, with little consideration of a limiting principle. Cf., e.g., N.Y. Civil Liberties

Union v. N.Y. City Transit Auth., 684 F.3d 286, 298 (2d Cir. 2012) (noting, with

approval, that “there is no principle that limits the First Amendment right of



wish to avoid. This contradiction highlights the discrepancy between plaintiffs’
claims and traditional right-of-public-access case law.
                                         15
       Case 3:20-cv-01035-SI     Document 191      Filed 10/13/20   Page 60 of 76




[public] access to any one particular type of government process”). When the

Supreme Court first articulated the First Amendment right of public access in

Richmond Newspapers, Inc. v. Virginia, it drew on an extensive historical record of

public access to criminal trials in the Anglo-American legal tradition, dating back

to “the days before the Norman Conquest.” 448 U.S. at 580. After canvassing

more than a thousand years of “unbroken, uncontradicted” history, the Court felt

justified in concluding that the right to attend criminal trials is “implicit in the

guarantees of the First Amendment.” Id. In Press-Enterprise II, the Court limited

its inquiry to post-Bill of Rights history, but nonetheless identified a “near

uniform” “tradition of accessibility” to preliminary hearings in criminal cases

dating back to the “celebrated trial of Aaron Burr” in 1807. 478 U.S. at 10–11.

      Lower courts, by contrast, including ours, have extended the right of public

access largely without extensive historical backing and without further guidance

from the Supreme Court regarding the specific contours of the doctrine. If the

majority’s reasoning here is any indication, the doctrine is growing haphazardly,

like a weed in an untended garden, presaging conflict with more established legal

rights and powers. This doctrinal disorder warrants further review.

                                            2

      Even if right-of-public-access analysis were appropriate under these

circumstances, any right to access the proceeding in question must apply equally to

                                           16
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 61 of 76




the press and the public. See Cal. First Amendment Coal. v. Woodford, 299 F.3d

868, 873 n.2 (9th Cir. 2002) (“As members of the press, plaintiffs’ First

Amendment right of access to governmental proceedings is coextensive with the

general public’s right of access.” (citing Houchins v. KQED, Inc., 438 U.S. 1, 15–

16 (1978)). Indeed, it is a long-established and fundamental principle of

constitutional law that “the First Amendment does not guarantee the press a

constitutional right of special access to information not available to the public

generally.” Branzburg v. Hayes, 408 U.S. 665, 684 (1972). Cf. Erwin

Chemerinsky, Protect the Press: A First Amendment Standard for Safeguarding

Aggressive Newsgathering, 33 U. Rich. L. Rev. 1143, 1145 (2000) (“[The Supreme

Court’s] rulings, without exception, have failed to provide any First Amendment

protection for newsgathering. Indeed, the Court has declared that there is no

exemption for the press from general laws. In other words, while engaged in

newsgathering, the press is not exempt from tort liability or criminal laws, no

matter how compelling the need for reporting to protect the public’s health and

safety.”)

      But here, the district court’s injunction, by its own terms, grants self-

identified journalists and “legal observers” a special privilege to disregard

dispersal orders with which the general public must comply, which has no legal




                                          17
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 62 of 76




basis. The injunction is thus at odds with a core First Amendment principle and a

common-sense rule of thumb: the media have the same rights as the rest of us.7

      The majority opinion here rejects this characterization of the injunction and

insists that it creates no special rights. According to the majority, the injunction

merely prevents federal agents from seeking to disperse the press from local streets

and sidewalks when the City’s current policy is that press may remain there, even

during riots, but does not seek to regulate crowd dispersal on federal property. On

this view, the injunction is a wholesome exercise in federalism!

      But the majority’s analysis is inconsistent with the plain text of the district

court’s order and misapplies principles of constitutional structure. The injunction,

by its own terms, appears to extend to dispersal orders issued on federal property,



7
  Even if journalists had some special claim to enhanced Constitutional protection
when reporting on law enforcement activities, grounded in the First Amendment’s
“freedom of the press” clause, “legal observers” have never been accorded any
special recognition under our law. Cf. Wise v. City of Portland, No. 3:20-CV-
01193-IM, 2020 WL 5231486, at *7 (D. Or. Sept. 2, 2020) (declining to recognize
special status for “protest medics” in similar Portland protests) (“[T]his Court has
found no legal authority for affording protest medics, as defined by Plaintiffs,
unique recognition under the First Amendment beyond that afforded any individual
who attends a protest. . . . They simply have no unique status under the First
Amendment that allows them to disregard lawful [dispersal] orders.”). That the
district court’s injunction appears to empower the ACLU and NLG to bestow
immunity from lawful dispersal orders is particularly dubious given the status of
these organizations as perennial litigation adversaries of law enforcement agencies.
In sum, like “protest medics,” there is no cognizable basis for “legal observers” to
receive “special dispensation” to disregard lawful dispersal orders. Wise, 2020 WL
5231486 at *2.
                                          18
       Case 3:20-cv-01035-SI    Document 191      Filed 10/13/20   Page 63 of 76




and is certainly not geographically limited in any explicit way. The injunction thus

allows the press, but not others, to disregard dispersal orders that are clearly

lawful. That can only be understood as a special dispensation that is not consistent

with the First Amendment.

      In any event, even if federal agents are located on City property when they

issue, or seek to enforce, an order to disperse, principles of federalism do not

justify carving out a special exemption for the press from such orders simply

because City police would typically allow for one. The Federal Government is

indeed acknowledged by all to be one of limited and enumerated powers, see Nat’l

Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 534 (2012), and it is not entitled to

exercise general or residual powers, see United States v. Comstock, 560 U.S. 126,

153 (2010) (Kennedy, J., concurring) (“Residual power, sometimes referred to

(perhaps imperfectly) as the police power, belongs to the States and the States

alone”), such as the prevention and punishment of crime and disorder on local

streets, sidewalks, and parks, see United States v. Morrison, 529 U.S. 598, 618

(2000) ([W]e can think of no better example of the police power, which the

Founders denied the National Government and reposed in the States, than the

suppression of violent crime and vindication of its victims.”).

      It is an inversion of our constitutional structure, however, to require federal

officers to abide by municipal policies regarding crowd dispersal when carrying

                                          19
       Case 3:20-cv-01035-SI     Document 191      Filed 10/13/20   Page 64 of 76




out their statutory prerogative to protect federal property and personnel. Federal

officials are prohibited, of course, from “commandeering” state and local law

enforcement officers to help secure federal property and must instead rely on

voluntary cooperation with state and local officials for this purpose. See Printz v.

United States, 521 U.S. 898, 935 (1997). Where such cooperation is inadequate,

the federal government must deploy its own agents. In these circumstances, the

agency’s lawful directives regarding crowd dispersal, i.e., those adopted pursuant

to a constitutionally enacted federal statute or rule, take precedence over state and

local ones, not the other way around. Such an arrangement does not violate

principles of federalism or dual sovereignty but is rather required by them. See,

e.g., Alden v. Maine, 527 U.S. 706, 732 (1999) (federal government sets the

supreme law of the land when acting within its enumerated powers).

      The majority opinion relies heavily on the district court’s conclusion, with

which it agrees, that it is, in fact, unlawful for federal agents to issue orders to

disperse if they are situated beyond federal property. According to the majority,

DHS and USMS have never claimed to have such authority, and the federal statute

upon which they principally rely, 40 U.S.C. § 1315, does not provide for it.

      The suggestion that the government has simply conceded this question is

overstated. Although this issue was not adequately briefed by either party, the

government has consistently articulated the position, both before the district court

                                           20
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 65 of 76




and on appeal, that federal law enforcement officers may issue dispersal orders on

federal property, and in several circumstances, may effectuate those orders beyond

federal property, such as by establishing a secure perimeter. In particular, the

government has invoked § 1315(b)(1), which provides that the Secretary of

Homeland Security may designate DHS agents to protect federal property,

including designating agents for duty in “areas outside the property to the extent

necessary to protect the property and persons on the property.”

      I am inclined to agree with the government’s general understanding of its

statutory authority. As the government has pointed out, it would be unreasonable

to require that federal officers charged with securing federal buildings wait until

violent opportunists have breached the property line or entered the building before

taking any protective measures. There is very likely a statutory basis for at least

some crowd dispersal activity adjacent to a federal courthouse faced with violent

unrest and the other challenging circumstances at issue here.

      I also agree with the majority, however, that a determination of the precise

scope of DHS’s and USMS’s statutory authority is not required for resolution of

this emergency motion. Indeed, the statutory question muddles the First

Amendment analysis upon which the district court’s injunction is ultimately

grounded. Presumably, if federal officers have no statutory basis for dispersals

beyond federal property, then any such dispersals are ultra vires, and the inquiry is

                                         21
       Case 3:20-cv-01035-SI    Document 191        Filed 10/13/20   Page 66 of 76




at an end. There is no reason to proceed to an evaluation of the constitutional

rights of persons subject to such purportedly unlawful measures, let alone to

construct a complex injunction that distinguishes the rights of press and “legal

observers” from the rights of other participants in a protest. Ultimately, a lack of

federal statutory authority for off-property dispersals, as such, cannot serve as the

sole, or even primary, basis upon which this particular injunction is upheld, given

its reliance on a painstaking analysis of purported constitutional violations with

respect to specific persons. Thus, even if I were to accept the majority’s view that

the injunction’s aim is simply to prohibit off-property dispersals by federal

officers, which I do not, the injunction’s terms would be woefully underinclusive.

                                           3

      Even if a presumptive right of access for press and “legal observers” to

witness law enforcement’s response to a riot could be said to exist, the inquiry does

not end there. Under Press-Enterprise II, a presumptive right of public access to

any particular proceeding may be overcome by an overriding government interest

based on findings that closure is essential to preserve higher values and is narrowly

tailored to serve that interest. 478 U.S. at 8–9.

      The district court’s narrow tailoring analysis failed to take proper account of

the government’s interests in defense of federal personnel and property, which

justify use of general dispersal orders during riot control situations that threaten

                                          22
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 67 of 76




federal resources, even in a public forum. 8 Here, considering the chaotic and

dynamic situation during Portland’s recent protest events, which have frequently

devolved into riots, along with the nefarious actions by certain individuals falsely

purporting to be press or “legal observers,” closure of the forum through general

dispersal orders is essential to the defense of federal personnel and property.

Indeed, the closure of governmental proceedings has been deemed proper in

several instances where the government’s interest was arguably less immediate and

the restriction on access was equally broad. Cf., e.g., Dhiab v. Trump, 852 F.3d

1087, 1095 (D.C. Cir. 2017) (government’s interest in preventing future threats to

military operations would justify closure of habeas proceedings); U.S. v. Index

Newspapers LLC, 766 F.3d 1072, 1087 (9th Cir. 2014) (government’s interest in



8
 In addition, the district court’s narrow tailoring analysis was conceptually flawed
because the closure evaluated in the Press-Enterprise II framework should be that
of a specific governmental proceeding, not of a public forum generally. Utilizing
“right-of-public-access” analysis to evaluate the closure of a “traditional public
forum,” such as a public street, is unsettling because government restrictions on
First Amendment activity in such locations are usually evaluated under “public
forum analysis,” which has been more extensively developed in the case law and
provides more guidance regarding the policing of protest events. See, e.g., Perry
Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37, 45 (1983); Int’l Action
Ctr. v. City of New York, 587 F.3d 521, 527 (2d Cir. 2009); Coal. to Protest
Democratic Nat’l Convention v. City of Boston, 327 F. Supp. 2d 61, 69–70 (D.
Mass.), aff’d sub nom. Bl(a)ck Tea Soc’y v. City of Boston, 378 F.3d 8 (1st Cir.
2004).



                                         23
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 68 of 76




secrecy justified closure of certain grand jury proceedings); ACLU v. Holder, 673

F.3d 245, 252 (4th Cir. 2011) (government’s interest in integrity of ongoing fraud

investigation justified sealing of complaints filed in False Claims Act actions).

      Moreover, if the categories of “journalist” and “legal observer” in fact

include all members of the public engaged in observation, as distinguished from

speech or protest—as the majority seems to suggest—then the government’s

interests in full closure of the “proceeding” are even more compelling. Otherwise,

in the event of a riot in a public forum that threatens federal property, federal

officers could disperse only members of the public that are speaking, assembling,

and protesting, but not members of the public that are observing or documenting.

Peaceful protesters caught up in the riot would have to obey the dispersal order, but

peaceful observers would not. This differential treatment is groundless and, in any

event, would render federal dispersal orders a dead letter, even in the face of an

undeniable threat to federal property and personnel. Federal law enforcement

agents simply would not be allowed to clear the street. Such a prohibition is not

only inconsistent with the government’s overriding interest in security in cases of

violent unrest that threatens federal property and personnel, it is also contrary to

established law in other First Amendment settings, which permits general dispersal

orders in similar circumstances. Cf., e.g., Bible Believers v. Wayne Cty., Mich.,

805 F.3d 228, 252 (6th Cir. 2015) (“The police may go against the hecklers,

                                          24
      Case 3:20-cv-01035-SI     Document 191    Filed 10/13/20   Page 69 of 76




cordon off the speakers, or attempt to disperse the entire crowd if that becomes

necessary.”). Carr v. D.C., 587 F.3d 401, 409–10 (D.C. Cir. 2009) (“[W]hen

police face an unruly crowd they may give a dispersal order and then arrest those

who, after reasonable opportunity to comply, fail to do so. We continue to

acknowledge that this tactic will be invaluable to police in certain circumstances. A

dispersal order might well be necessary in a situation in which a crowd is

substantially infected with violence or otherwise threatening public safety.”

(internal citations and quotation marks omitted)); Wise, 2020 WL 5231486 at *2

(recognizing propriety of general dispersal orders in response to Portland riots).

      The only way the majority arrives at a different conclusion is by according

deference to the district court’s factual findings, which placed heavy emphasis on

the City of Portland’s consent to abide by an injunction with nearly identical terms

and a declaration submitted by former DHS official Gil Kerlikowske stating that

law enforcement officers may respond effectively to riots without dispersing

journalists and “legal observers.” Evaluating whether a government measure is

narrowly tailored is not simply a matter of ordinary fact-finding, however. Narrow

tailoring is viewed as a mixed question of fact and law that requires a delicate

balancing of legal principles as applied to specific circumstances. See Gilbrook v.

City of Westminster, 177 F.3d 839, 861 (9th Cir. 1999); Gerritsen v. City of Los

Angeles, 994 F.2d 570, 575 (9th Cir. 1993) (“[W]e review First Amendment

                                         25
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20     Page 70 of 76




questions de novo since they present mixed questions of law and fact, requiring us

to apply principles of First Amendment jurisprudence to the specific facts of this

case.” (internal quotation marks omitted)); see also Mastrovincenzo v. City of New

York, 435 F.3d 78, 100 (2d Cir. 2006) (“Our narrow-tailoring inquiry requires us to

apply principles of First Amendment jurisprudence to the specific facts of this

case, and therefore we treat this issue as a mixed question of law and fact that we

may resolve on appeal.” (internal quotations marks omitted)); Casey v. City of

Newport, R.I., 308 F.3d 106, 116 (1st Cir. 2002) (“Inescapably, the application of

the narrow tailoring test entails a delicate balancing judgment.” (citations

omitted)). Accordingly, I would revisit the district court’s narrow tailoring inquiry,

which I believe did not correctly balance the interests at stake.

      The City’s stipulation does not have the import that the district court, and the

majority, ascribe to it. That the City ultimately agreed to the terms of the

injunction does not show that it complied with them, let alone that it did so and

managed to protect property and personnel. In any event, the City’s agreeableness

should not be overstated here. The PPB is still alleged to have followed until

recently a policy of dispersing press and “legal observers,” the TRO was entered




                                          26
       Case 3:20-cv-01035-SI     Document 191     Filed 10/13/20   Page 71 of 76




without the City’s consent, and, after the City agreed to a preliminary injunction, it

suggested that modifications would be required.9

      Moreover, as already discussed, holding DHS and USMS to the City’s

policies and practices reflects a misunderstanding of the relationship between

federal and local law enforcement, each of which operates under a separate

command structure and is typically entitled to set different enforcement priorities

and to follow different directives regarding lawful crowd control tactics, including

general dispersal orders. In this case, the City not only sought to distinguish the

PPB from federal law enforcement, it has been explicitly adverse to the presence of

federal officers in Portland, leveling serious allegations of unlawful conduct

against them, and even going so far as to prohibit the PPB from cooperating with

federal agents to provide security for the Hatfield Courthouse. The City’s actions,

and its filings in the district court, suggest that it has a divergent assessment of the

severity of the threat posed to federal personnel and property by protest events that

degenerate into riots, and of the proper manner of dealing with that threat. The




9
  The City also resisted a very similar request for injunctive relief brought by so-
called “protest medics.” Wise, 2020 WL 5231486 at *2. The City apparently
argued, and the district court agreed, that an injunction exempting “protest medics”
from dispersal orders would be unworkable for the PPB. Why the City expects the
PPB to identify and to exempt “legal observers,” but not “protest medics,” is
difficult to understand. Cf. fn. 7, supra.
                                           27
       Case 3:20-cv-01035-SI     Document 191       Filed 10/13/20   Page 72 of 76




City is entitled, of course, to utilize different crowd control tactics, but the City’s

choices obviously do not bind federal law enforcement agencies.

      Similarly, Kerlikowske’s testimony does not adequately address crowd

control under the specific circumstances faced by federal officers in Portland. For

example, he deals in a conclusory manner with the evidence placed in the record

regarding the involvement of putative journalists and “legal observers” in criminal

acts, stating that federal officers “were not fooled” by the “press” labels and that

trained officers are capable of dealing with such incidents on an individualized

basis. But effectuating an arrest may not be feasible or safe in the chaotic and

dynamic environment of a riot that threatens federal property and personnel, which

is why dispersal orders—and related crowd control tactics, such as deployment of

tear gas—are understood to be legitimate law enforcement tools in the first place.

Cf. Wise, 2020 WL 5231486 at *2 (recognizing propriety of general dispersal

orders in responding to Portland riots); Don't Shoot Portland v. City of Portland,

No. 3:20-CV-00917-HZ, 2020 WL 3078329, at *4 (D. Or. June 9, 2020) (allowing

use of tear gas in situations where safety of public or police is at risk). Given the

conclusory nature of Kerlikowske’s testimony on this point, it is hardly definitive.

      Accordingly, the government has made a strong showing that it is likely to

succeed in demonstrating that the First Amendment-based right of public access

does not support the district court’s injunction.

                                           28
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 73 of 76




                                           B

      With respect to the “retaliation” claim, the district court also concluded that

plaintiffs were likely to succeed, largely based on its detailed factual findings

indicating a disturbing pattern of unwarranted force by federal agents. The

majority opinion here discusses the “retaliation” claim extensively and ultimately

defers to these factual findings.

      Even if plaintiffs’ retaliation claim were viable, however, that claim alone

cannot justify this injunction. The district court’s factual findings regarding

retaliation, while apparently based on a meticulous examination of the record, bear

no relation to the injunctive relief actually entered. General dispersal orders were

not among the acts alleged to be retaliatory, nor did the district court make any

findings to support such a conclusion. An injunction that exempts plaintiffs—not

to mention, journalists and “legal observers” more generally—from dispersal

orders is thus far broader than necessary to provide relief for the injuries alleged,

and documented, as a result of retaliation.10 Indeed, Judge Immergut, of the very

same district court, relied on such reasoning in denying a similar request for

injunctive relief based on First Amendment “retaliation” just two weeks after the



10
  Remarkably, some of the allegations in the complaint regarding “retaliation”
may well support Bivens actions and claims of excessive force against individual
officers, but that is not what is before us today. Bivens v. Six Unknown Fed.
Narcotics Agents, 403 U.S. 388, 395 (1971).
                                           29
       Case 3:20-cv-01035-SI    Document 191     Filed 10/13/20   Page 74 of 76




instant preliminary injunction was entered. Wise, 2020 WL 5231486 at *8

(injunction not warranted where instances of alleged targeting appeared to occur

when “protest medics” refused to follow dispersal orders).

       Accordingly, I would hold that, regardless of whether plaintiffs’ have stated

a valid First Amendment “retaliation” claim, an injunction that exempts them from

non-retaliatory dispersal orders is overbroad and an abuse of discretion. See Cal.

v. Azar, 911 F.3d 558, 584 (9th Cir. 2018) (“The scope of the remedy must be no

broader and no narrower than necessary to redress the injury shown by the

[plaintiff].”)

       I conclude that DHS and USMS have made a strong showing that they are

likely to succeed in demonstrating that the district court’s extraordinary injunction

was issued without an adequate legal basis. This critical Nken factor favors grant

of the government’s emergency motion for stay pending appeal.

                                          III

       The remaining Nken factors also favor a stay pending appeal here. First,

while a closer question, the government has shown that it is likely to suffer

irreparable harm during the pendency of the appeal if the injunction is not stayed,

because it is unworkable for federal officers to distinguish journalists and “legal

observers” in the midst of a riot that threatens federal property and personnel based




                                          30
       Case 3:20-cv-01035-SI     Document 191     Filed 10/13/20   Page 75 of 76




on the nebulous criteria established by the district court, particularly in light of the

incidents of press and “legal observer” involvement in violent unrest.

      The majority rejects the government’s showing on this factor, stating that the

injunction is carefully drawn to avoid undue interference with DHS’s and USMS’s

defense of federal resources, that the PPB has been operating safely and effectively

under nearly identical terms, and that Kerlikowske’s declaration indicates that

general dispersal orders are unnecessary for crowd control. The majority’s

characterization of the order as carefully drawn is misleading because the order

merely restates existing legal rules, such as an officer’s power to make an arrest

based on probable cause. And the order does not explain how effectuating arrest of

individual suspects is as feasible or safe as utilizing general crowd control tactics

during a riot that threatens federal property and personnel. Similarly, the City’s

stipulation and Kerlikowske’s declaration do not warrant the treatment they

receive, for the reasons discussed above.

      Second, the harms to the government are serious because the injunction’s

curtailment of general dispersal orders will compromise the security of federal

personnel and property, whereas, if there is no right of public access, as I have

argued, then any harm to plaintiffs from a stay is minimal because they do not have

a right to remain in the street after they have been ordered to disperse, and the

injunction does not protect them from retaliation. Third, for similar reasons, the

                                           31
       Case 3:20-cv-01035-SI     Document 191      Filed 10/13/20   Page 76 of 76




public interest in maintenance of order and public safety also favors stay of an

overbroad injunction that unduly interferes with law enforcement operations, while

offering little, if any, protection for plaintiffs’ actual constitutional rights. This

combination of showings justifies a stay pending appeal. See Leiva-Perez v.

Holder, 640 F.3d 962, 970 (9th Cir. 2011) (stay warranted where irreparable harm

is probable, there is a strong likelihood of success on the merits, and the public

interest does not weigh heavily against a stay).

                                           IV

      Because the government has made a strong showing that it is likely to

succeed in demonstrating that the injunction lacks an adequate legal basis, and the

other Nken factors also weigh in favor of a stay, I respectfully dissent and would

grant the emergency motion for stay pending appeal.




                                            32
